1    LAWRENCE J. WARFIELD
     Chapter 7 Trustee
2    PO Box 3350
     Carefree, AZ 85377
3
                            IN THE UNITED STATES BANKRUPTCY COURT
4                                 FOR THE DISTRICT OF ARIZONA
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     In re:                                               Chapter 7
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     ABRIL, FELIX A.                                      Case No. 0:17-BK-07669-PS
7    ABRIL, ARACELI Q.
                                                          Adversary #: 0:19-ap- ________ PS
8             Debtor(s)

9                                                         COMPLAINT TO REVOKE
     LAWRENCE J. WARFIELD,                                DISCHARGE
10    Chapter 7 Trustee
11
                     Plaintiff
12
     vs.
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     ABRIL, FELIX A.
14   ABRIL, ARACELI Q.
     2055 PANORAMA DRIVE
15   BULLHEAD CITY, AZ 86442

16                  Defendants
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              LAWRENCE J. WARFIELD, duly appointed Chapter 7 Trustee herein (“Trustee”),
18   respectfully moves for an Order of the Court to Revoke Debtors’ discharge.          The Trustee’s

19   Complaint is based on the following:
              1.    The Defendant(s) is/are the debtor(s) herein, having filed a voluntary Chapter 7
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     bankruptcy petition on July 5, 2017.
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              2.    Debtor’s 341 meeting of creditors was conducted August 21, 2018.
22            3.    Discharge was granted to the debtors on October 30, 2017, (docket 22).
23            4.    On December 5, 2018, (docket 30), Trustee filed a Motion to Compel turnover,
     seeking turnover of the estate’s pro rata share of 2017 tax refunds.
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1           5.     On January 7, 2019, at docket 34, this Court entered an Order compelling turnover:
2                  Debtors shall immediately (within 21 days) turn over to Trustee, Payment of
                   cashiers check or money order in amount of $1,440.61, for the bankruptcy estate’s
3                  pro rata share of Felix Abril’s 2017 tax refunds

4           6.     On January 8, 2019, Trustee’s office mailed to the debtors, (with copy to debtor’s

5    attorney via email) correspondence enclosing the order compelling turnover, and requesting
     payment be remitted to the Trustee by January 31, 2019.
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            7.     On January 8, 2019, at docket 36, Trustee filed a certificate of service, evidencing
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     mailing to the debtors and emailing to the debtor’s attorney, the Order compelling turnover.
8           8.     On January 10, 2019, at docket 37, the Bankruptcy Noticing Center (BNC) sent to
9    the debtors and to debtor’s attorney, a copy of the Order compelling turnover.
            9.     On February 11, 2019, at docket 39, Trustee filed a notice of default/notice of non-
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     compliance with court order, notifying the court of the debtors’ failure to comply with the Order
11
     compelling turnover.
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            10.    Accordingly, Debtors’ discharge should be revoked pursuant to 11 U.S.C. § 727.
13          WHEREFORE, the Trustee hereby requests the Court enter an Order Revoking Debtors’

14   discharge.
            DATED this April 1, 2019
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                                                 /s/ Lawrence J. Warfield
16                                               Lawrence J. Warfield, Chapter 7 Trustee
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